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 1                                                                              HON. S. KATE VAUGHAN

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 6                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 7                                      SEATTLE DIVISION
 8       AFFORDABLE AERIAL                                  NO. 2:20-cv-01626-SKV
         PHOTOGRAPHY, INC.,
 9
                                                            TRANSBLUE LLC’S ANSWER TO
                                          Plaintiff,        COMPLAINT
10       vs.
11       TRANSBLUE, LLC,
12
                                          Defendant.
13

14             Defendant TRANSBLUE, LLC, by and through its undersigned attorneys, responds to the
15   Complaint and allegations therein as follows:
16                                        SUMMARY OF THE ACTION
17             1.     The Complaint states what it states. To the extent there is a factual allegation stated
18   herein, that allegation is denied.
19             2.     Defendant is without information to confirm the veracity of the statements herein
20   and therefore deny the same.

21             3.     Deny. Defendant further alleges that Transblue, LLC is not a facility management

22   company nor does it own or operate the website www.transbluefm.com. Defendant cannot confirm

23   or deny when AAP discovered the photograph at issue in this lawsuit. To the extent there are

24   additional allegations stated herein, those allegations are denied.

25             4.     Admit that AAP makes certain allegations as stated in its Complaint. Deny all

26   remaining allegations herein.

27
                                                                           SEED INTELLECTUAL PROPERTY LAW GROUP LLP
     DEFENDANT’S ANSWER                                                           701 FIFTH AVENUE, SUITE 5400
     2:20-cv-01626-SKV                                 1                        SEATTLE, WASHINGTON 98104-7092
                                                                                         (206) 622-4900
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 1                                         JURISDICTION AND VENUE

 2           5.      Admit.

 3           6.      Admit.

 4           7.      Admit.

 5           8.      Admit that venue is proper. Deny all remaining allegations herein.

 6                                                  DEFENDANT

 7           9.      Admit that Transblue, LLC is a Nevada limited liability company. Deny all

 8   remaining allegations herein.

 9                                   THE COPYRIGHTED WORK AT ISSUE

10           10.     Defendant cannot confirm the veracity of the statement herein and therefore denies

11   the same.

12           11.     Defendant cannot confirm the veracity of the statement herein and therefore denies

13   the same.

14           12.     The Certificate of Registration states what it states. To the extent there are

     additional factual allegations, those allegations are denied.
15
             13.     This allegation contains a legal conclusion; therefore, no response is required. To
16
     the extent an allegation is made herein, that allegation is denied.
17
             14.     Defendant cannot confirm the veracity of the statement herein and therefore denies
18
     the same.
19
                                       INFRINGEMENT BY DEFENDANT
20
             15.     Admit.
21
             16.     Deny.
22
             17.     Admit that it never received AAP’s permission. Deny all remaining allegations.
23
             18.     Deny.
24
             19.     Deny.
25
             20.     Defendant cannot confirm the veracity of the statement herein and therefore denies
26
     the same.
27
                                                                           SEED INTELLECTUAL PROPERTY LAW GROUP LLP
     DEFENDANT’S ANSWER                                                           701 FIFTH AVENUE, SUITE 5400
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                                                                                         (206) 622-4900
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 1           21.     Deny.

 2           22.     Admit.

 3           23.     Admit that the parties have not resolved the matter set forth in this lawsuit. Deny

 4   all remaining allegations.

 5           24.     Deny.

 6           25.     Admit.

 7                                                        COUNT I
                                           COPYRIGHT INFRINGEMENT
 8
             26.     Defendant restates and realleges their responses to paragraphs 1 through 25 as
 9
     though fully set forth herein.
10
             27.     This is a legal conclusion. Accordingly, no response is required. To the extent
11
     there is a factual allegation herein, that allegation is denied.
12
             28.     Defendant cannot confirm the veracity of the statement herein and therefore denies
13
     the same.
14
             29.     Deny.
15
             30.     Deny.
16
             31.     Deny.
17
             32.     Deny.
18
             33.     Deny.
19
                                                          COUNT II
20
                       REMOVAL OF COPYRIGHT MANAGEMENT INFORMATION
21
             34.     Defendant restates and re-alleges their responses to paragraphs 1 through 33 as
22
     though fully set forth herein.
23
             35.      Defendant cannot confirm the veracity of the statement herein and therefore denies
24
     the same.
25
             36.     Deny.
26
             37.     Deny.
27
                                                                        SEED INTELLECTUAL PROPERTY LAW GROUP LLP
     DEFENDANT’S ANSWER                                                        701 FIFTH AVENUE, SUITE 5400
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                                                                                      (206) 622-4900
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 1           38.     Deny.

 2           39.     Deny.

 3           40.     Deny.

 4                                        PRAYER FOR RELIEF

 5           Defendant denies that AAP is entitled to any of the relief requested.

 6                                            JURY DEMAND

 7           Defendant demands a trial by jury on all issues so triable.

 8                                      AFFIRMATIVE DEFENSES

 9           Transblue asserts the following defenses in response to the allegation in the Complaint.

10   Transblue expressly reserves the right to assert any other defenses that may now exist, or in the

11   future, may be available based on further factual investigation in this case.

12           1. Failure to state a claim upon which relief can be granted.

13           2. Failure to name the real party in interest.

14           3. This claim may be barred by the statute of limitations.

             4. The copyright, on its face, is not proper and therefore does not cover the claim here.
15

16

17    Dated July 16, 2021.                        Respectfully submitted,
                                                  SEED IP LAW GROUP LLP
18
                                                   s/ E. Russell Tarleton
19
                                                  E. Russell Tarleton, WSBA No. 17006
20                                                701 Fifth Avenue, Suite 5400
                                                  Seattle, WA 98104
21                                                Telephone: (206) 622-4900
                                                  Facsimile: (206) 682-6031
22                                                Email: RussT@seedip.com
23                                                Attorneys for Defendant
24                                                Transblue, LLC

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27
                                                                           SEED INTELLECTUAL PROPERTY LAW GROUP LLP
     DEFENDANT’S ANSWER                                                           701 FIFTH AVENUE, SUITE 5400
     2:20-cv-01626-SKV                              4                           SEATTLE, WASHINGTON 98104-7092
                                                                                         (206) 622-4900
